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Election Identification Certificates
County Participation
Day/Week | Date Region 1A Region 1B Region 2A Region 2B Region 3 Region 4 Region 5 Region 6A Region 6B
Week 4
Monday | 4Nov
eat catttee eaten iiss cue raNcoe Aare
501 S Ann ST, Brackettville, TX 117 E Wassom, Gail, TX 20G oF Ol 2 ares Avan oral 403 12th ST, Bandera, TX
EIC Unit EIC Unit 33 EIC Unit
Real County Coke County Karnes County
County Courthouse County Courthouse County Courthouse
146 Highway 83 S, Leakey, TX 13 E 7th ST, Robert Lee, TX 210 W Calvert, Karnes City, TX
EIC Unit EIC Unit 36 EIC Unit
[Tuesday | 5Nov
Somervell County Crockett County Potter Count Bandera County Blanco County
Somervell County Offices County Courthouse 900 S Polk ST. STE 320 a SREUTE 1X Ray Mauer Annex Trinity Lutheran Church
107 Vernon, Glen Rose, TX 909 Avenue D, Ozona, TX EIC Unit 59 : 403 12th ST, Bandera, TX 703 N Main ST, Blanco, TX
EIC Unit EIC Unit 34 EIC Unit EIC Unit 42
Jeff Davis County Karnes County
County Courthouse THP Office County Courthouse
100 N State ST, Fort Davis, TX 210 W Calvert, Karnes City, TX
EIC Unit 28 EIC Unit
[Wednesday | _—_6 Nov
Saath poteU ou Tins ncrocnic aren
13 E 7th ST, Robert Lee, TX pep io Folk Sess erates 703 N Main ST, Blanco, TX
EIC Unit 36 EIC Unit 42
Glasscock County
Glasscock Community Center
117 S Myrl, Garden City, TX
EIC Unit 31
[Thursday |  7Nov
Glasscock County Blanco County
: Potter County ee
Glasscock Community Center : District Court Room #23 on 2nd Floor
117 S Myrl, Garden City, TX Soe Si clk =e ae eunalillOUs 101 E Pecan ST, Johnson City, TX
EIC Unit 31 EIC Unit 42
Sterling County San Saba County
County Courthouse TX Health and Human Services
609 4th AVE, Sterling City, TX 423 E Wallace ST, San Saba, TX
EIC Unit 37 Eic Unit 44
|Friday | 8Nov
Concho County Blanco County
: : Potter County Ae
City Council Chambers : District Court Room #23 on 2nd Floor
120 Paint Rock ST, Eden, TX eos Pe Bie finan Sal 101 E Pecan ST, Johnson City, TX
EIC Unit 29 EIC Unit 42
Jeff Davis County San Saba County
County Courthouse THP Office TX Health and Human Services
100 N State ST, Fort Davis, TX 423 E Wallace ST, San Saba, TX
EIC Unit 28 Eic Unit 44
Week 5
Monday | 11Nov
[Tuesday | 12Nov
[Wednesday | 13 Nov
[Thursday | 14Nov
|Friday | 15Nov
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TEX0506124
